Case 19-03224          Doc 12       Filed 02/08/19 Entered 02/08/19 11:43:40                      Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 CHICAGO DIVISION


                                                    )
 In re                                              )     Chapter 7
                                                    )
 DAN VALENTINE,                                     )     Case No. 19-03224
 Debtor(s)                                          )
                                                    )     BANKRUPTCY JUDGE
                                                    )     CAROL A DOYLE




                   REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
             FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

 PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

 Bank (PayPal Smart Connect [Last four digit of account:2918]), a creditor in the above-captioned chapter

 7 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the

 Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C.

 §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given and all

 papers served or required to be served in this case be also given to and served, whether electronically or

 otherwise, on:
             Synchrony Bank
             c/o PRA Receivables Management, LLC
             PO Box 41021
             Norfolk, VA 23541
             Telephone: (877)885-5919
             Facsimile: (757) 351-3257
             E-mail: claims@recoverycorp.com


 Dated: Norfolk, Virginia
 February 8, 2019
                                                        By: /s/ Valerie Smith
                                                        Valerie Smith
                                                        c/o PRA Receivables Management, LLC
                                                        Senior Manager
                                                        PO Box 41021
                                                        Norfolk, VA 23541
                                                        (877)885-5919

 Assignee Creditor: PayPal Smart Connect [Last four digit of account:2918]
